Case 3:20-cv-00373-DJH-RSE Document 13 Filed 08/03/20 Page 1 of 2 PageID #: 505




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION
                             CIVIL ACTION NO. 3:20-CV-373-DJH
                                 (ELECTRONICALLY FILED)

 SECURA INSURANCE, A MUTUAL COMPANY                                     COUNTER-DEFENDANT

 v.                                     AGREED ORDER

 BOND, INCORPORATED
 d/b/a GRILL & CHILL OF MIDDLETOWN                                                   DEFENDANT


                                              *****

        Come now Plaintiff/Counter-Defendant, SECURA Insurance Company, a Mutual

 Company, and Defendant/Counter-Claimant, Bond Incorporated, d/b/a Grill & Chill of

 Middletown, by and through counsel, and these parties being in agreement, and this Court being

 otherwise duly and sufficiently advised;

        IT IS HEREBY ORDERED that the common law and/or statutory bad faith violations

 claims and Consumer Protection Act claims as contained in the Counterclaim of Counter-Claimant

 be, and the same are, hereby bifurcated and held in abeyance until such time as the underlying

 coverage and appraisal process disputes have been fully and finally determined judicially, or fully

 and finally completed or resolved by settlement.

        IT IS FURTHER ORDERED that any and all discovery regarding the common law

 and/or statutory bad faith violations claims and Consumer Protection Act claims as contained in

 the Counterclaim of Counter-Claimant be, and the same is, hereby stayed and held in abeyance

 until such time as the underlying coverage and appraisal process disputes have been fully and

 finally determined judicially, or fully and finally completed or resolved by settlement.

          August 1, 2020




                                                                David J. Hale, Judge
                                                             United States District Court
Case 3:20-cv-00373-DJH-RSE Document 13 Filed 08/03/20 Page 2 of 2 PageID #: 506




 HAVE SEEN AND AGREED TO:


 /s/ David K. Barnes ______________
 David K. Barnes
 SCHILLER BARNES MALONEY PLLC
 401 W. Main Street, Suite 1600
 Louisville, KY 40202
 T: (502) 583-4777
 F: (502) 583-4780
 dbarnes@sbmkylaw.com
 Counsel for Plaintiff/ Counter-Defendant



 /s/ Clinton H. Scott______________
 Clinton H. Scott
 McWherter Scott Bobbitt
 54 Exeter Road, Suite D
 Jackson, TN 38305
 T: (731) 664-1340
 clint@msb.law
 Counsel for Defendant/ Counter-Claimant
